           Case 6:18-cr-10065-EFM Document 2 Filed 05/23/18 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                        )
                                                 )
                    Plaintiff,                   )    Criminal Action
                                                 )
      v.                                         )   Case No. 18-10065-01,02,03-EFM
                                                 )
TYLER R. BARRISS,                                )
SHANE GASKILL,                                   )
and CASEY S. VINER,                              )
                                                 )
                    Defendants.                  )

                       MOTION TO UNSEAL INDICTMENT

      Comes now the United States, by and through Debra L. Barnett, Assistant United

States Attorney for the District of Kansas, and moves the Court for an order that the

Indictment filed on May 22, 2018, be unsealed.

      WHEREFORE, the United States requests that the Indictment in the above-

captioned case be unsealed.

                                        Respectfully submitted,

                                        STEPHEN R. McALLISTER
                                        United States Attorney

                                        s/ Debra L. Barnett
                                        DEBRA L. BARNETT
                                        Ks. S.Ct. No. 12729
                                        Assistant United States Attorney
                                        District of Kansas
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         Case 6:18-cr-10065-EFM Document 2 Filed 05/23/18 Page 2 of 2




                             CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2018, I presented the foregoing to the clerk of the
court for filing and uploading to the CM/ECF system.


                                                 s/ Debra L. Barnett
                                                 DEBRA L. BARNETT
                                                 Assistant U.S. Attorney




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